Case 3:16-md-02738-MAS-RLS Document 23111 Filed 06/28/21 Page 1 of 2 PageID: 145901




                             UNITED STATES DISTRICT COURT FOR
                                THE DISTRICT OF NEW JERSEY


    IN RE JOHNSON & JOHNSON “BABY
    POWDER” and “SHOWER TO SHOWER”
    MARKETING, SALES PRACTICES AND
    PRODUCTS LIABILITY LITIGATION
                                                                    MDL NO. 2738 (FLW) (LHG)
    THIS DOCUMENT RELATES TO:

    Terry Caruthers vs. Johnson & Johnson, et al.
    Case No.: 3:21-cv-5668-FLW-LHG




                                         NOTICE OF FILING

           Notice is hereby given pursuant to Case Management Order No. 3 (Filing of Short Form

    Complaints) that a Short Form Complaint and Jury Demand has been filed on behalf of Plaintiff,

    Terry Caruthers.

           This 28th day of June 2021.

                                                          Respectfully submitted,

                                                          ONDERLAW, LLC

                                                    By:   /s/ James G. Onder
                                                          James G. Onder, #38049 MO
                                                          William W. Blair, #58196 MO
                                                          Stephanie L. Rados, #65117 MO
                                                          110 E. Lockwood, 2nd Floor
                                                          St. Louis, MO 63119
                                                          314-963-9000 telephone
                                                          314-963-1700 facsimile
                                                          onder@onderlaw.com
                                                          blair@onderlaw.com
                                                          rados@onderlaw.com
Case 3:16-md-02738-MAS-RLS Document 23111 Filed 06/28/21 Page 2 of 2 PageID: 145902




                                         Certificate of Service

           The undersigned hereby certifies that this document was filed and electronically served by
    way of the Court’s electronic filing system this 28th day of June 2021.


                                                        /s/ James G. Onder
